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AO 91 (Rev. 11/1) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
District of Idaho

United States of America
v.

cueNo MS(F- | 0S2a-CWD

JONATHAN SCHMIDT

Nee ee ee ee ee ee

 

Defendant(s)

CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 1/26/2019 and 8/21/2019 in the county of Ada in the
District of Idaho , the defendant(s) violated:

 

 

Code Section Offense Description
18 U.S.C. § 2252A(a)(5)(B) Possession of Child Pornography

This criminal complaint is based on these facts:

See attached affidavit of Detective Aron Steibel, Caldwell Police Department.

@% Continued on the attached sheet.

 

ALE

Complainant’s signature

Aron Streibel, Detective, Caldwell Police Department

 

Printed name and title
Sworn to before me and signed in my presence.

Judge’s signature

City and state: ___ Boise, Idaho Candy W. Dale, United States Magistrate Judge

 

Printed name and title

 
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Aron Streibel, a Detective with the Caldwell Police Department, being
first duly sworn, hereby depose and state as follows:

INTRODUCTION AND INVESTIGATOR BACKGROUND

1. I am a duly sworn police officer with the Caldwell Police Department. I have
been employed by the Caldwell Police Department for approximately ten (10) years and have
been a sworn law enforcement officer in Idaho for approximately fifteen (15) years and hold the
rank of Specialist. I have successfully completed the Idaho Peace Officer Standards and
Training in Meridian, Idaho, and hold a State of Idaho Master Law Enforcement Certificate. I
am currently assigned to Caldwell-Police Department Criminal Investigations Unit.

2. I am currently a member of the Idaho Attorney General’s Internet Crimes Against
Children (ICAC) Unit. The Idaho ICAC Unit is the lead agency for the Idaho Internet Crimes
Against Children Task Force, which is a collaboration of federal, state, and local law -
enforcement agencies working to counter the threat of offenders using the Internet or other
technology to sexually exploit children. As a member of the ICAC Unit, I work with other.
agencies that may lack sufficiently trained investigators or may have manpower issues with
investigations concerning the on-line sexual exploitation of minor children. !

3. Thave conducted, or participated in, numerous investigations relating to the

possession, transportation, distribution, and-trading of child pornography’ files and obscenity

 

1 “Children” or “child,” as used in this affidavit, refers to a minor or minors under the age of eighteen (18) years.

2 “Child pornography,” as used in this affidavit, is defined in 18 United States Code, Section 2256(8), as “any visual
depiction, including any photograph, film, video, picture, or computer-generated image or picture, whether made or
produced by electronic, mechanical, or other means, of sexually explicit conduct, where (A) the production of such
visual depiction involves the use of a minor engaging in sexually explicit conduct; (B) such visual depiction is a
digital image, computer image, or computer-generated image that is or is indistinguishable from, that of a minor

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directed at minors. I have employed a variety of investigative techniques including physical
surveillance, undercover operations, the execution of search warrants, and interviews of
defendants and witnesses.

4. I have over 2,000 hours of specialized training and have received specialized
training regarding the on-line sexual exploitation of children. I have attended several courses
pertaining to computer crime and sexual exploitation. These courses include: Sexual Assault and
Rape Investigations course in 2009, Idaho Child Abuse Conference in 2012, Internet Crimes
Against Children Investigative Techniques, digital evidence collection, in 2016, Peer to Peer
(P2P) software training (Bit Torrent in 2017, Bit Torrent refresher course 2018), Undercover
Chat Investigations in 2018, National Internet Crimes Against Children Conference in 2017 and
2018, Investigative Technology 2017 and 2018, Idaho Human Trafficking Conference in 2019,
and the “osTriage” preview tool course. These schools cover the investigation of persons who
use computers and electronic devices to aid in the possession, sharing and distribution of child
pornography images and videos as well as those that use the Internet to entice and solicit children
for sexual acts.

5. I have spoken with federal agents and state and local investigators who are
knowledgeable regarding the methods and means used by individuals who buy, sell, trade, send
and/or receive child pornography via the Internet, and these agents and investigators have related
their personal knowledge to me and provided me with insight as to the manner in which evidence
of these crimes is kept. In addition, I have been personally involved in interviews of persons

found in possession of child pornography. Many of those offenders interviewed discussed or —

 

engaging in sexually explicit conduct; or (C) such visual depiction has been created, adapted, or modified to appear
that an identifiable minor is engaging in sexually explicit conduct.”

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT—2

 
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confessed to their sexual interest in children and the manner in which they seek out and locate
child pornographic images and videos. During the course of my duties, I have personally viewed
sexually explicit pictures of minor children, depicting them in the nude, in sexually provocative
poses, in lewd poses, and in poses depicting various sexual acts. I have also seen photographs,
digital photographs, and videos of minor children being raped by adults orally, anally, and
vaginally.

6. I am submitting this affidavit as probable cause to arrest and charge J onathan
SCHMIDT with violation of Title 18 U.S.C. § 2252A(a)(5)(B), Possession of Child
Pornography.

APPLICABLE LAW

Title 18, United States Code, Section 2252A(a)(5)(B) provides: that any a person who

knowingly possesses, or knowingly accesses with intent to view, any book, magazine, periodical,

film, videotape, computer disk, or any other material that contains an image of child
pornography that has been mailed, or shipped or transported using any means or facility of
interstate or foreign commerce or in or affecting interstate or foreign commerce by any means,
including by computer, or that was produced using materials that have been mailed, or shipped
or transported in or affecting interstate or foreign commerce by any means, including by
computer, shall be punished as provided in subsection (b).

18 U.S.C. § 2256(8)(A) defines “Child Pornography” as any visual depiction, including
any photograph, film, video, picture, or computer or computer-generated image or picture,
whether made or produced by electronic, mechanical or other means, of sexually explicit
conduct, where the production of the visual depiction involved the use of a minor engaged in

sexually explicit conduct.

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18 U.S.C. § 2256(2)(A) defines “Sexually explicit conduct” as actual or simulated:

i. sexual intercourse (including genital-genital, oral-genital, or oral-anal),

whether between persons of the same or opposite sex;

ii. bestiality;

iii. masturbation;

iv. sadistic or masochistic abuse; or

v. lascivious exhibition of the genitals, anus, or pubic areas of any person.

Regarding the definition of “lascivious exhibition of the genitals or pubic areas of any

person, most courts have-embraced the six-factor lascivious exhibition” test articulated in United

States v. Dost, 636 F. Supp. 828, 832 (S.D. Cal. 1986):

a.

Whether the focal point of the visual depiction is on the
child’s genitalia or pubic area;

Whether the setting of the visual depiction is sexually
suggestive, i.e., in a place or pose generally associated with
sexual activity; |

Whether the child is depicted in an unnatural pose, or in .
inappropriate attire; considering the age of the child;
Whether the child is fully or partially clothed, or nude;
Whether the visual depiction suggests sexual coyness or a
willingness to engage in sexual activity; and

Whether the visual depiction is intended or designed to

elicit a sexual response in the viewer.

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The Dost court also observed, “a visual depiction need not involve all of these factors to
be a ‘lascivious exhibition of the genitalia or pubic area.’ The determination will have to be
made based on the overall content of the visual depiction, taking into account the age of the
minor.” Id.

STATEMENT OF PROBABLE CAUSE

7. On January 26, 2019, my Bit Torrent investigative computer located a device on
the Bit Torrent network at IP address 160.2.149.77. The device was associated with a torrent
with the infohash: e84ea6476cc7a7435658b4c747f6faf94cf34330. This torrent file references
528 files, at least one of which was identified as being a file of investigative interest to child |
pornography investigations.

8. Using a computer running investigative Bit Torrent software, a direct connection
was made to the device at IP address 160.2.149.77, hereinafter referred to as “Suspect Device.”
The Suspect Device reported it was using Bit Torrent client software -qB4150-.

9. On Saturday, January 26, 2019, between 0839 hrs and 2348 hrs, a download was
successfully completed of 528 file(s) that the device at IP address 160.2.149.77 was making
available for download. The device at IP Address 160.2.149.77 was the sole candidate for each
download, and as such, each file was downloaded directly from a device at this IP Address and
no other source. It should be noted that I received multiple downloads of the same types of files I
have described below (computer-generated images of children engaged in sexual acts),
repeatedly at different times between January 22, 2019 and January 26, 2019, from this same IP

Address.

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10, On Monday, February 11, 2019 a query was made on the IP address 160.2.149.77
through the American Registry for Internet Numbers (ARIN). ARIN reported IP address
160.2.149.77 was registered to CABLE ONE, INC.

11. \ I viewed the files that were downloaded to my computer from the Suspect Device
and verified several of them were sexually exploitative material. The files contained high
definition digitally animated images of young children engaged in sexual activity with adults.
Below are file names, SHA 1-BASE32 hash value, and description of one of the downloaded
files:

File Name: |
Abundance
SHA 1-BASE32: .
-PU4224KZQWBEY WD22BCER7LCY4HGIXTQ
Description:
This file is a color photograph of what appears to be a digitally created female
child and adult male. The image shows the illustration of the female child fully
nude laying on her stomach, sideways on a chair. The child appears to represent a
prepubescent female child of approximately 6-8 years of age. The child has brown
hair and is of diminutive stature. The child in the photo does not appear to have
breast development. A nude adult male is seen standing in front of the child with |
his erect penis in the child’s mouth. The adult male is only seen from the
abdomen to the knees. The adult male has his left hand holding the back of the
child’s head. In the bottom right corner of the photo is a watermark that says
“ROADKILL.”

12. On March 18, 2019, I served a Federal Grand Jury subpoena to Cable One Inc.

(the Internet Service Provider responsible for the suspect IP address) requesting subscriber
information regarding IP address 160.2.149.77. I requested subscriber information for the IP

address during the dates and times the computer-generated files of children engaged in sexual

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acts began downloading to the law enforcement computer. The results of the subpoena are as

follows:

Target Details: . 160.2.149.77, 1/24/2019 20:39:22, UTC
160.2.149.77, 1/26/2019 15:39:45, UTC
160.2.149,77, 1/31/2019 15:55:24, UTC

Subscriber Name: Jonathan Schmitz

Subscriber Address: 10821 Franklin Rd. Boise, ID 83709
Subscriber Email: JONSKATE@AOL.COM

Creation Start Date: 1/27/16

Customer Status: Active

MAC Address: 60:19:71:1b:4a:34

"43, On April 3,2019, I conducted surveillance at 10821 Franklin Rd, Boise, ID 83709,

The location is a complex of several two story townhouses (or condominiums). I saw two
vehicles parked in front of the residence and according to DMV records, the vehicles were
registered to David and Cynthia Schmidt (a gray 2006 Ford Fusion bearing Idaho license plate
1A3U740) whom I believe to be Jonathan’s parents (due to their age and them sharing the same
last name as Johnathan), and Warner Davis (a black BMW X5 bearing Idaho license plate
1A7617H). I am unaware of the relationship between Jonathan and Warner at this time.

14. In researching Jonathan Schmitz, I located his driver’s license record from ITD
(Idaho Transportation Department), and according to ITD it appears that the actual spelling of
his last name is “SCHMIDT” as opposed to “SCHMITZ” that is on the Cable One account. I
located the Boise Figure Skating Club website and it lists that J onathan Schmidt is a youth ice
skating coach at Idaho Iceworld in Boise, Idaho.

15. Doing open source online searching of Jonathan Schmidt, I found that he has

listed jonskate@aol.com as his email address (which is consistent with the information I received

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from Cable One). I confirmed with the US Postal Service that mail is delivered to the residence
listed in this affidavit for the last names of Schmidt and Davis. Also, on July 16, 2019, I
witnessed Johnathan Schmidt (I recognized him from his driver’s license picture) leave this

’ residence and drive away in the gray 2006 Ford Fusion listed in this affidavit. I followed
Schmidt as he drove to Idaho Iceworld (where he is employed).

16. On August 21, 2019, with the assistance of Boise Police and the ICAC Unit, I
served a search warrant at Schmidt’s residence (10821 W. Franklin Rd. Boise). I interviewed
Schmidt and he admitted to viewing child pornography for many years. Schmidt admitted he
knew it was against the law to view child pornography and he has tried to quit many times but
returns to it. Schmidt stated that he most recently began viewing the computer generated or.
animated images of children because he thought it was not against the law to view. Schmidt also
admitted to reading sexually erotic stories involving children.

17. Schmidt admitted to viewing the types of images previously described in this
affidavit. Schmidt also admitted to viewing and having on his computers actual images of child
pornography. Schmidt also admitted to masturbating while viewing the child pornography and
reading the erotic stories of children,

18. During the search of Schmidt’s residence many digital storage devices were found
to include hard drives, extra computers and digital media disks such as CDs. I was informed by
investigators on scene that several CDs were found inside the residence that were hand labeled
with the titles “PTHC” (which stands for Pre Teen Hard Core, and is a common term used for -
child pornography involving prepubescent children), During the interview Schmidt admitted to

viewing files with PTHC in the titles. Schmidt also admitted to titles about “Blue Orchid” (which

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were located on said CDs). I asked Schmidt who the CDs belonged to and he said they were his.
The following are descriptions of 3 files found on Schmidt’s CDs:

File Name: .

Blue Orchid Gay Preteen Nicola 13Yo Boy Rf1 Fresh Kid Whips It F
SHA 1-BASE32:

I27CWBDDL6FS7Y TUV562IGNKLYBHJRGK

Description:

This file is a video file approximately 8:37 (min:sec) in length and begins showing the
title “Russian Flowers #1”. The title fades away and shows a juvenile male child
approximately 10-13 years old sitting on a couch. The child has no visible body hair to
include pubic hair and is of diminutive stature. Techno music begins playing and the
child begins removing his clothes. The child then begins touching his erect penis and-
masturbates while the camera zooms in on his penis. The child masturbates for several
minutes, the video showing him in different positions on the couch. At approximately 3
minutes into the video the child exposes his anus and begins fondling his anus with his
other hand while continuing to masturbate with his other hand (the camera again zooms
in on his anus). The child continues to masturbate and change positions on the couch
from laying on his back to kneeling etc. then the video ends.

File Name:

PJK%2021[1]

SHA 1-BASE32:

SENSSF 54H VDMUMKQCPHBUOZIFY TNCVNL

Description: |
This file is a video that appears to be an older video due to the poor video quality, and is
approximately 1:58 (min:sec) in length. The video begins with two young boys jumping

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onto a bed both naked. The boys appear to be between 11 and 13 years old, do not have
any visible body or pubic hair and are of diminutive stature. The boys are seen wrestling
around on the bed for a few minutes then they begin to masturbate each other. The
camera focuses in on the boy’s genitals as they masturbate each other. Near the end of the
video the one boy places his mouth on the penis of the other boy and begins to orally
copulate the other then the video ends.

File Name:

Bibcam P101 - 'NEW' 12yo Boy bathes then has gay sex with hi

SHA 1-BASE32: | a

7TWM4EL2INSP4N2 VTYBIDWCIT4ZNZKKRV

Description:
This file is a video file approximately 11:43 (min:sec) in length. The video begins with a
young boy, approximately 11-13 years old, fully nude, sitting back in a bathtub, The
child’s genitals are in full view of the camera. After a short time the child begins to rub a
bar of soap over his body and the camera follows until it focuses on his penis. The child
begins to have an erection and fondles himself. After about 2:20 the child is seen
masturbating then spreads his buttocks to the camera to expose his anus, then inserts 2
fingers into his anus for approximately the next minute. At 3:34 the video cuts to the boy
laying in a bed fondling his penis. At 6:09 the boy is again seen inserting a finger into his
anus. 7:40 the boy is seen performing oral copulation on the penis of what is presumed to
be an adult male (only the pubic region of the other individual is seen and there is an

abundance of pubic hair). At 9:16 what appears to be the penis of an adult male is seen

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penetrating the anus of the child and the camera is focused on the anal copulation of the
boy, then the boy masturbates while being anally penetrated.

| CONCLUSION
Based on the foregoing, there is probable cause to arrest and charge Jonathan SCHMDIT

with violation of Title 18 U.S.C. § 2252A(a)(5)(B), Possession of Child Pornography.

Respectfully submitted,

ZIG

Aron Streibel
Detective , Caldwell Police Department

 

Subscribed and sworn before me this 21st day of August, 2019.

 

The Honorable Candy W. Dale
United States Magistrate Judge

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT—11

 
